          Case 1:19-cr-00710-SHS Document 53 Filed 12/30/20 Page 1 of 1




                                                    December 29, 2020

     BY EMAIL & ECF
                                                              MEMO ENDORSED
     Honorable Sidney H. Stein
     United States District Judge
     Southern District of New York
     500 Pearl Street
     New York, NY 10007

           Re:    United States v. Hai Jiao Dai,
                  19 Cr. 710 (SHS)

     Dear Judge Stein:

            I write to respectfully request a 45-day adjournment of Hai Jiao Dai’s
     sentencing proceeding, currently scheduled for January 14, 2021, without
     objection from the government. An adjournment is appropriate in light of
     Chief Judge Colleen McMahon’s Standing Order suspending all in-person
     proceedings in the Southern District of New York through (at least) January
     15, 2021 (see In re Coronavirus/COVID 19 Pandemic, 20-mc-00622-CM
     (S.D.N.Y. Nov. 30, 2020)), and the defense’s need for additional time to
     prepare for sentencing. This includes the additional time necessary for the
     defense to have the final Pre-Sentence Report, which was issued today,
     translated into Mandarin.

                                                    Respectfully Submitted,



                                                    Andrew J. Dalack
The sentencing is adjourned to March 8,             Assistant Federal Defender
2021, at 10:00 a.m. Defense submissions are         (212) 417-8768
due by February 8, 2021, the government
submissions are due by February 22, 2021            Counsel for Hai Jiao Dai

Dated: New York, New York
       December 30, 2020
